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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

Charlotte Loquasto, et al.,                      §
                                                 §
               Plaintiffs,                       §
v.                                               §        Civil Action No. 3:19-cv-01455-B
                                                 §       (Consolidated with Civil Action No.
Fluor Corporation, Inc., et al.                  §                3:19-cv-01624-B)
                                                 §
               Defendants.                       §

      DEFENDANTS FLUOR CORPORATION, INC., FLUOR ENTERPRISES, INC.,
        FLUOR GOVERNMENT GROUP INTERNATIONAL, INC., AND FLUOR
       INTERCONTINENTAL, INC.’S STATEMENT REGARDING PLAINTIFFS’
            SUPPLEMENT TO THEIR RESPONSE TO DEFENDANTS’
                    RULE 12(B)(1) MOTION TO DISMISS

TO THE HONORABLE JANE J. BOYLE, UNITED STATES DISTRICT JUDGE:

        Plaintiffs supplement their Response to Defendants’ Motion to Dismiss [Doc. 57] with an

order from Winston Tyler Hencely v. Fluor Corporation, Inc., et al. (Cause No. 6:19-cv-00489-

BHH), and they claim that the Hencely order should control the outcome of Defendants’ Motion

to Dismiss in this case.

        Defendants respectfully disagree with the Hencely court’s decision and its characterization

of the facts, claims, issues, and arguments in that case. But even setting those characterizations

aside, the court interpreted and applied South Carolina law, not Texas law. The court held that

Fluor’s causation defense did not raise political questions because it determined that Fluor could

not submit the Military for negligence apportionment under South Carolina law. See Doc. 58

(Hencely order, at pp. 30-34).

        The same is not true in this case because the governing law is fundamentally different.

Should Plaintiffs’ claims proceed to trial, the trier of fact will have to apportion and compare the

Military’s responsibility because the Military is a responsible third party. See Doc. 31, and Tex.



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Civ. Prac. & Rem. Code §§ 33.003, 33.004, et seq. The Military’s immunity from civil liability is

irrelevant because Defendants do not seek to recover damages from the Military, and the Texas

Supreme Court has held that immune parties are subject to apportionment under Chapter 33.

Galbraith Eng’g Consultants, Inc. v. Pochucha, 290 S.W.3d 863, 868-69 and n.6 (Tex. 2009).

Plaintiffs’ negligent supervision and negligent retention claims under Texas law will inevitably

implicate the Military’s security functions through, inter alia, questioning Nayeb’s fitness for base

access and LOGCAP work; the Military’s control over the corresponding security and force

protection functions is relevant to the Military’s comparative responsibility, whether the Fifth

Circuit has adopted the plenary control test or not. See Docs. 20, 31, and 45, supra.

       Defendants briefed these issues fully in their opening brief and will address them again in

their reply in support of their Motion to Dismiss due to the Court on or before June 26, 2020.

                                              Respectfully submitted,

                                              HARTLINE BARGER LLP


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                                      Certificate of Service

        The undersigned certifies that on June 10, 2019 Fluor served a true and correct copy of the
foregoing document on all known counsel of record via the Northern District’s CM/ECF filing
service.

                                             /s/ Darrell L. Barger
                                             Darrell L. Barger




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